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 1   KIRKLAND & ELLIS LLP
 2   Matthew T. Regan, P.C. (pro hac vice)
     mregan@kirkland.com
 3   300 North LaSalle
 4   Chicago, IL 60654
     Telephone: 312-862-2000
 5   Facsimile: 312-862-2200
 6
     Liaison Counsel for Defendants
 7
 8   (additional counsel listed below)
 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11   In re: ZF-TRW Airbag Control Units      )   Case No.: 2:19-ml-02905-JAK-FFM
12   Products Liability Litigation           )
                                             )   MDL No. 2905
13   ALL CASES                               )
14                                           )   Judge: John A. Kronstadt
                                             )
15                                           )   JOINT STATEMENT REGARDING
16                                           )   THE JANUARY 25, 2021 MOTION
                                             )   TO DISMISS HEARING
17                                           )
18                                           )   Date: January 25, 2021
                                             )   Time: 8:30 a.m.
19                                           )   Courtroom: 10B
20                                           )
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 1         Pursuant to the Court’s September 14, 2020 Order (Dkt. 275), issued following the
 2   September 14, 2020 Status Conference, as well as the discussion during the December
 3   14, 2020 Status Conference, the Parties submit this Joint Statement reflecting their
 4   collective and/or respective views regarding the proposed process for the January 25
 5   motion to dismiss hearing. 1
 6   I.    Process for the January 25 Motion to Dismiss Hearing
 7         Topics to be addressed during oral argument. The Parties have discussed which
 8   issues they think it would be most helpful to address at the January 25 hearing, and how
 9   to best present those issues in an efficient manner. Counsel for all Parties wish to address
10   whichever issues the Court would like them to address, and in whatever order the Court
11   believes would be appropriate. To the extent the Court is able to share its thoughts in
12   advance of the hearing on which issues it would like to hear argued, and in what order,
13   the Parties agree that would be helpful.
14         Subject to further guidance from the Court, the Parties propose addressing the
15   following topics:
16         • RICO and Rule 9(b)2 (Arguments I and II.A in Defendants’ joint motion to
17            dismiss brief (Dkt. 208));
18         • Personal Jurisdiction (Arguments raised in the Parties’ joint legal standards
19            briefs (Dkts. 282, 300) and Defendants’ individual motion to dismiss briefs);
20         • Plaintiffs’ Warranty Claims (The express warranty arguments in Defendants’
21            individual briefs); and
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         Defendants state that their participation in the court-ordered process of meeting and
25   conferring and preparing this joint statement does not prejudice or waive any challenge to
     this Court’s personal jurisdiction as to the claims made by any Plaintiff or class.
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       The parties also intend for this topic to cover the adequacy of Plaintiffs’ pleading under
27   Rule 9(b) as to an omissions theory and affirmative misrepresentation claims under state
     fraud and consumer protection laws.
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 1         • Supplier-Specific Fraud, Reliance, and Causation Arguments (Argument II
 2             in ZF’s motion to dismiss brief (Dkt. 209), Argument II.A in STMicro’s motion
 3             to dismiss brief (Dkt. 247), and Argument III.C in Mobis/MPA’s motion to
 4             dismiss brief (Dkt. 220)).
 5   While Defendants believe they raise other meritorious issues and arguments in their
 6   motions to dismiss, the Parties propose submitting the remaining issues raised in those
 7   briefs on the papers. If, following review of this report, the Court believes argument on
 8   one or more of those issues would assist the Court’s review, the Parties can be prepared
 9   to address those issues as well.
10         Order of Argument and Time Allocations. The Parties agree it would be most
11   effective to hear from both sides on each of the topics identified above before moving to
12   the next topic. For example, if the Court agreed to proceed in addressing the arguments
13   as set forth above, Defendants would address the RICO and Rule 9(b) issues raised in the
14   motions to dismiss, Plaintiffs would respond to those arguments, and Defendants would
15   then offer a brief rebuttal on those issues before moving on to address personal
16   jurisdiction.
17         The Parties agree that argument time should generally be split 50-50 between the
18   Defendants collectively and the Plaintiffs collectively. For instance, if the Court plans to
19   allot approximately two and a half hours for the hearing, as indicated during the
20   December 14 Status Conference, each side would be allotted roughly 75 minutes of
21   argument time to be allocated by that side across any of the oral argument topics.
22         The Parties have not agreed to specific time allocations for each of the topics
23   identified above, but will take into account any guidance from the Court on the issues it
24   would like to hear argued and/or any tentative rulings the Court puts forth when
25   determining how much time to spend on each topic.
26   II.   Demonstratives
27         Pursuant to the Court’s minutes from the December 14 Status Conference (Dkt.
28   311), if the parties plan to use any demonstrative exhibits, they will disclose those
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             JOINT STATEMENT REGARDING JANUARY 25, 2021 HEARING
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 1   materials to the Court and other parties by 11 am PT on January 24, 2021. The parties
 2   propose providing the demonstrative exhibits to the Court via email sent to the chambers
 3   email address.
 4   III.   Number of Participants at the Motion to Dismiss Hearing
 5          Pursuant to the Court’s December 14, 2020 Order (Dkt. 311), the parties have
 6   conferred regarding the number of participants at the upcoming hearing.       With the
 7   understanding that the system the Court anticipates using is limited to 100 total
 8   participants and that the Court itself may have approximately 10 attendees, the parties
 9   have agreed to divide the remaining “seats” such that Plaintiffs will have a maximum of
10   33 attendees and Defendants will have a maximum of 57 attendees at the hearing. The
11   parties currently believe their proposed number of attendees and arguing counsel is
12   within the Court’s videoconferencing capacity, but would be open to exploring with the
13   Court (including the courtroom deputy clerk) whether additional viewing capability may
14   be available in “view-only” or “webinar” mode for participants who will not be arguing
15   but who may wish to observe the proceedings. The parties are available to coordinate
16   with the courtroom deputy clerk as needed regarding this and other issues.
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 1   DATED: January 11, 2021            Respectfully submitted,
 2                                      /s/ John T. Nicolaou
 3                                      BARON & BUDD, P.C.
                                        Roland Tellis (SBN 186269)
 4                                      rtellis@baronbudd.com
 5                                      David Fernandes (SBN 280944)
                                        dfernandes@baronbudd.com
 6                                      Adam Tamburelli (SBN 301902)
 7                                      atamburelli@baronbudd.com
                                        15910 Ventura Boulevard, Suite 1600
 8                                      Encino, CA 91436
 9                                      Telephone: 818-839-2333
                                        Facsimile: 818-986-9698
10
11                                      LIEFF CABRASER HEIMANN &
                                        BERNSTEIN, LLP
12
                                        David Stellings (pro hac vice)
13                                      dstellings@lchb.com
                                        John T. Nicolaou (pro hac vice)
14
                                        jnicolaou@lchb.com
15                                      Katherine McBride
                                        kmcbride@lchb.com
16
                                        250 Hudson Street, 8th Floor
17                                      New York, New York 10013-1413
                                        Telephone: 212.355.9500
18
19                                      LIEFF CABRASER HEIMANN &
                                        BERNSTEIN, LLP
20
                                        Elizabeth J. Cabraser (SBN 83151)
21                                      ecabraser@lchb.com
                                        Nimish R. Desai (SBN 244953)
22
                                        ndesai@lchb.com
23                                      Phong-Chau G. Nguyuen (SBN 286789)
24                                      pgnguyen@lchb.com
                                        275 Battery Street, 29th Floor
25                                      San Francisco, CA 94111-3339
26                                      Telephone: 415.956.1000

27                                      Co-Lead Counsel for Plaintiffs
28
                                  4
           JOINT STATEMENT REGARDING JANUARY 25, 2021 HEARING
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 1                                      Respectfully submitted,
 2   DATED: January 11, 2021            /s/ Matthew T. Regan, P.C.
 3                                      KIRKLAND & ELLIS LLP
                                        Mark C. Holscher (SBN 139582)
 4                                      mark.holscher@kirkland.com
 5                                      555 South Flower Street
                                        Los Angeles, CA 90071
 6                                      Telephone: 213-680-8400
 7                                      Facsimile: 213-680-8500
 8                                      Tammy A. Tsoumas (SBN 250487)
 9                                      tammy.tsoumas@kirkland.com
                                        2049 Century Park East, Suite 3700
10                                      Los Angeles, CA 90067
11                                      Telephone: 310-552-4200
                                        Facsimile: 310-552-5900
12
13                                      Matthew T. Regan, P.C. (pro hac vice)
                                        mregan@kirkland.com
14                                      300 North LaSalle
15                                      Chicago, IL 60654
                                        Telephone: 312-862-2000
16                                      Facsimile: 312-862-2200
17
                                        Judson Brown, P.C. (pro hac vice)
18                                      jdbrown@kirkland.com
19                                      Michael A. Glick (pro hac vice)
                                        michael.glick@kirkland.com
20                                      Jason Wilcox (pro hac vice)
21                                      jason.wilcox@kirkland.com
                                        1301 Pennsylvania Avenue, N.W.
22                                      Washington, D.C. 20004
23                                      Telephone: 202-389-5000
                                        Facsimile: 202-389-5200
24
25                                      Counsel for ZF Active Safety and Electronics
                                        US LLC, ZF Passive Safety Systems US Inc.,
26
                                        ZF Automotive US Inc., ZF TRW Automotive
27                                      Holdings Corp., ZF North America, Inc., ZF
                                        Friedrichshafen AG, and ZF Holdings B.V.
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 1                                      /s/ Robert P. Debelak III
 2                                      McDOWELL HETHERINGTON LLP
                                        Jodi K. Swick (SBN 228634)
 3
                                        jodi.swick@mhllp.com
 4                                      1 Kaiser Plaza, Ste. 340
                                        Oakland, CA 94612
 5
                                        Telephone: 510.628.2145
 6                                      Facsimile: 510.628.2146
 7
                                        Alec S. DiMario (SBN 309811)
 8                                      alec.dimario@mhllp.com
 9                                      1055 E. Colorado Blvd., Ste. 500
                                        Pasadena, CA 91106
10                                      Telephone: 213.631.4059
11                                      Facsimile: 510.628.2146

12                                      Thomas F.A. Hetherington
13                                      tom.hetherington@mhllp.com
                                        Kendall J. Burr
14                                      kendall.burr@mhllp.com
15                                      Robert P. Debelak III
                                        bobby.debelak@mhllp.com
16                                      1001 Fannin St., Ste. 2700
17                                      Houston, TX 77002
                                        Telephone: 713.337.5580
18                                      Facsimile: 713.337.8850
19
                                        Emily K. Liu
20                                      emily.liu@mhllp.com
21                                      1000 Ballpark Way, Ste. 209
                                        Arlington, TX 76011
22                                      Telephone: 817.635.7300
23                                      Facsimile: 817.635.7308

24                                      Counsel for STMicroelectronics, Inc.,
25                                      STMicroelectronics N.V., and
                                        STMicroelectronics International N.V.
26
27
28
                                  6
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 1                                      /s/ Eric S. Mattson
 2                                      SIDLEY AUSTIN LLP
                                        Lisa M. Gilford (SBN 171641)
 3
                                        lgilford@sidley.com
 4                                      Stacy Horth-Neubert (SBN 214565)
                                        shorthneubert@sidley.com
 5
                                        555 West Fifth Street
 6                                      Los Angeles, CA 90013
                                        Telephone: 213-896-6000
 7
                                        Facsimile: 213-896-6600
 8
 9                                      Eric S. Mattson
                                        emattson@sidley.com
10                                      J. Simone Jones
11                                      simone.jones@sidley.com
                                        One South Dearborn Street
12                                      Chicago, IL 60603
13                                      Telephone: 312-853-7000
                                        Facsimile: 312-853-7036
14
15                                      Counsel for American Honda Motor Co., Inc.,
                                        Honda Motor Co., Ltd., Honda R&D Co., Ltd.,
16                                      Honda of America Mfg., Inc., and Honda R&D
17                                      Americas, Inc.

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 1                                      /s/ Douglas W. Robinson
 2                                      PALMIERI, TYLER, WIENER, WILHELM &
                                        WALDRON LLP
 3
                                        Douglas W. Robinson (SBN 255909)
 4                                      drobinson@ptwww.com
                                        Erica M. Sorosky (SBN 251314)
 5
                                        esorosky@ptwww.com
 6                                      Christopher J. Green (SBN 295874)
                                        cgreen@ptwww.com
 7
                                        1900 Main Street, Suite 700
 8                                      Irvine, CA 92614
 9                                      Telephone: 949-851-9400
                                        Facsimile: 949-825-5401
10
11                                      Counsel for Mitsubishi Motors North America,
                                        Inc.
12
13
14
15
16
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 1                                       /s/ John Beisner
 2                                       SKADDEN, ARPS, SLATE, MEAGHER &
                                         FLOM LLP
 3
                                         Lance A. Etcheverry (SBN 199916)
 4                                       lance.etcheverry@skadden.com
                                         Caroline Van Ness (SBN 281675)
 5
                                         caroline.vanness@skadden.com
 6                                       Matthew J. Tako (SBN 307013)
                                         matthew.tako@skadden.com
 7
                                         525 University Avenue, Suite 1400
 8                                       Palo Alto, CA 94301
 9                                       Telephone: 650-470-4500
                                         Facsimile: 650-470-4570
10
11                                       John Beisner (SBN 81571)
                                         john.beisner@skadden.com
12                                       1440 New York Avenue N.W.
13                                       Washington, D.C. 20005
                                         Telephone: 202-371-7000
14                                       Facsimile: 202-393-5760
15
                                         Counsel for Hyundai Motor Co., Ltd., Kia
16                                       Motors Corporation, Hyundai Motor America,
17                                       Inc., and Kia Motors America, Inc.

18
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 1                                       /s/ Matthew A. Goldberg
 2                                       DLA PIPER LLP (US)
                                         Christopher M. Young (SBN 163319)
 3
                                         christopher.young@dlapiper.com
 4                                       Michelle Chung (SBN 312833)
                                         michelle.chung@dlapiper.com
 5
                                         2000 Avenue of the Stars
 6                                       Suite 400 North Tower
                                         Los Angeles, CA 90067
 7
                                         Telephone: 310-595-3000
 8                                       Facsimile: 310-595-3300
 9
                                         Matthew A. Goldberg
10                                       mathew.goldberg@dlapiper.com
11                                       Nathan P. Heller
                                         nathan.heller@dlapiper.com
12                                       One Liberty Place
13                                       1650 Market Street
                                         Suite 5000
14                                       Philadelphia, PA 19103
15                                       Telephone: 215-656-3300
                                         Facsimile: 215-656-3301
16
17                                       Counsel for Hyundai Mobis Co., Ltd. and
                                         Mobis Parts America, LLC
18
19
20
21
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 1                                       /s/ Stephen A. D’Aunoy
 2                                       THOMPSON COBURN LLP
                                         Kathy A. Wisniewski
 3
                                         kwisniewski@thompsoncoburn.com
 4                                       Stephen A. D’Aunoy
                                         sdaunoy@thompsoncoburn.com
 5
                                         Thomas L. Azar, Jr.
 6                                       tazar@thompsoncoburn.com
                                         One US Bank Plaza
 7
                                         St. Louis, MO 63101
 8                                       Telephone: 314-552-6000
                                         Facsimile: 314-552-7000
 9
10                                       Kacey R. Riccomini (SBN 292340)
                                         kriccomini@thompsoncoburn.com
11
                                         2029 Century Park East, Suite 1900
12                                       Los Angeles, CA 90067
13                                       Telephone: 310-282-2500
                                         Facsimile: 310-282-2501
14
15                                       Counsel for FCA US LLC

16
17
                                         /s/ Thomas J. Murray
18                                       KING AND MURRAY PLLC
19                                       Thomas J. Murray
                                         tmurray@kingandmurray.com
20                                       Stephen W. King
21                                       sking@kingandmurray.com
                                         355 S. Old Woodward, Suite 100
22
                                         Birmingham, MI 48009
23                                       Telephone: (248) 792-2397
24
                                         Counsel for Fiat Chrysler Automobiles N.V.
25
26
27
28
                                   11
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                                      #:9314


 1                                       /s/ Michael Mallow
 2                                       SHOOK, HARDY & BACON LLP
                                         Michael Mallow
 3
                                         mmallow@shb.com
 4                                       Rachel Straus
                                         rstraus@shb.com
 5
                                         2049 Century Park East, Suite 3000
 6                                       Los Angeles, CA 90067
                                         Telephone: 424-285-8330
 7
                                         Facsimile: 424-204-9093
 8
 9                                       Amir Nassihi
                                         anassihi@shb.com
10                                       One Montgomery, Suite 2600
11                                       San Francisco, CA 94104
                                         Telephone: 415-544-1900
12                                       Facsimile: 415-391-0281
13
                                         BOWMAN AND BROOKE LLP
14                                       Vincent Galvin (SBN 104448)
15                                       vincent.galvin@bowmanandbrooke.com
                                         1741 Technology Drive, Suite 200
16                                       San Jose, CA 95110
17                                       Telephone: 408-279-5393
                                         Facsimile: 408-279-5845
18
19                                       Mark V. Berry (SBN 70162)
                                         mark.berry@bowmanandbrooke.com
20                                       970 West 190th Street, Suite 700
21                                       Torrance, CA 90502
                                         Telephone: 310-768-3068
22                                       Facsimile: 310-719-1019
23
                                         Counsel for Toyota Motor North America, Inc.,
24                                       Toyota Motor Sales, U.S.A., Inc., Toyota
25                                       Motor Engineering & Manufacturing North
                                         America, Inc.
26
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            JOINT STATEMENT REGARDING JANUARY 25, 2021 HEARING
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 1                            SIGNATURE OF CERTIFICATION
 2         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories
 3   listed, and on whose behalf the filing is submitted, concur in the filing’s content and have
 4   authorized the filing.
 5
 6   DATED: January 11, 2021                  /s/ Matthew T. Regan, P.C.
                                              Counsel for ZF Active Safety and Electronics
 7                                            US LLC, ZF Passive Safety Systems US Inc.,
 8                                            ZF Automotive US Inc., ZF TRW Automotive
                                              Holdings Corp., ZF North America, Inc., ZF
 9                                            Friedrichshafen AG, and ZF Holdings B.V.
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 1                              CERTIFICATE OF SERVICE
 2           I certify that on January 11, 2021, a copy of the foregoing JOINT STATEMENT
 3   REGARDING JANUARY 25, 2021 HEARING was served electronically through the
 4   Court’s electronic filing system upon all Parties appearing on the Court’s ECF service
 5   list.
 6   DATED: January 11, 2021               /s/ Matthew T. Regan, P.C.
 7                                         Counsel for ZF Active Safety and Electronics
                                           US LLC, ZF Passive Safety Systems US Inc.,
 8                                         ZF Automotive US Inc., ZF TRW Automotive
 9                                         Holdings Corp., ZF North America, Inc., ZF
                                           Friedrichshafen AG, and ZF Holdings B.V.
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